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            EXHIBIT G
11/21/21, 9:00 PM   Case 1:22-cv-02939-DLF
                                   National SecurityDocument
                                                     Law Firm Mail -48-3    FiledQ. 04/25/24
                                                                     IMO: Mathew    Gebert-SecurityPage   2 of
                                                                                                   Clearance    299
                                                                                                             Revocation



                                                                        Yolande Liddy <yolande@nationalsecuritylawfirm.com>



  IMO: Mathew Q. Gebert-Security Clearance Revocation
  1 message

  Yolande Liddy <yolande@nationalsecuritylawfirm.com>                                                    Thu, Jul 16, 2020 at 2:45 PM
  To: FOIARequest@state.gov
  Bcc: Brett O'Brien <brett@nationalsecuritylawfirm.com>

    Sir/Madam:

    Please be advised that this office Mathew Q. Gebert in connection with his security clearance revocation. I am attaching
    hereto a Privacy Act Request for all information concerning this matter. Please note that to ensure your receipt, I am also
    forwarding via certified mail. If you require any further information, please do not hesitate to contact our office. Thank
    you in advance.


    Yolande M. Liddy
    Paralegal
    Brett O'Brien Law
    1250 Connecticut Avenue, NW
    Suite 700
    Washington, DC 20005
    Phone: 200-600-4996
    Fax:    200-600-4997
    Email: yolande@nationalsecuritylawfirm.com

     2 attachments




                                                Gebert Passport.jpg
                                                2436K




          Gebert Request.pdf
          516K




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